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IN THE UNITED STATES BANKRUPTCY COURT

 

@ FOR THE DISTRICT OF DELAWARE
In re ) Chapter 11
)
HERCULES OFFSHORE, INC., et al ) Case No. 15-11685 (KIC)
) Jointly Administered
Debtors.! )
) Re: D.L 10, 48,64 & 10F

 

FINAL ORDER GRANTING MOTION OF HERCULES OFFSHORE, INC.,
ET AL., FOR ENTRY OF ORDER (A) AUTHORIZING THE DEBTORS TO
(Tl). CONTINUE TO OPERATE THEIR CASH MANAGEMENT SYSTEM, (II)
HONOR CERTAIN PREPETITION OBLIGATIONS RELATED THERETO, (IID
MAINTAIN EXISTING BUSINESS FORMS, AND (IV) CONTINUE TO
PERFORM INTERCOMPANY TRANSACTIONS, (B) AUTHORIZING AND
DIRECTING THE DEBTORS’ BANKS TO HONOR ALL RELATED PAYMENT
REQUESTS, (C) WAIVING THE DEBTORS’ COMPLIANCE WITH
INVESTMENT GUIDELINES SET FORTH IN SECTION 345(B) OF THE

BANKRUPTCY CODE; AND (D) GRANTING RELATED RELIEF

Upon the motion (the “Motion”) of the above-captioned debtors and debtors in

@ possession (collectively, the “Debtors”) for entry of a final order (this “Final Order”), (a)
authorizing the Debtors to (i) continue to operate the Cash Management System, (ii) honor

certain prepetition obligations related thereto, (iii) in the ordinary course of business, maintain

existing business forms, and (iv} continue to perform the Intercompany Transactions consistent

with historical practice, (b) authorizing and directing the Debtors’ banks to honor ail related

payment requests, (c) waiving the Debtors’ compliance with investment guidelines set forth in

 

The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax

identification number, are: Cliffs Drilling Company (8934); Cliffs Drilling Trinidad L.L.C.
(5205); FDOT LLC (7581); FDT Holdings LLC (4277); Hercules Drilling Company, LLC (2771);
Hercules Liftboat Company, LLC (0791); Hercules Offshore, Inc. (2838), Hercules Offshore
Services LLC (1670); Hercules Offshore Liftboat Company LLC (5303); HERO Holdings, Inc.
(5475); SD Drilling LLC (8190); THE Offshore Drilling Company (4465); THE Onshore Driiling
Company (1072); TODCO Americas Inc. (0289); and TODCO International Inc. (6326). The
address of the Debtors’ corporate headquarters is 9 Greenway Plaza, Ste 2200, Houston, TX
77046.

Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in

@& the Motion.

 
 

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section 345(b) of the Bankruptcy Code, and (d) granting related relief, all as more fully set forth
in the Motion; and upon the First Day Declaration; and this Court having jurisdiction over this
matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing Order of Reference from
the United States District Court for the District of Delaware, dated February 29, 2012; and this
Court having found that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and that this
Court may enter a final order consistent with Article II] of the United States Constitution; and
this Court having found that venue of this proceeding and the Motion in this district is proper
pursuant to 28 U.S.C. §§ 1408 and 1409; and this Court having found that the relief requested in
the Motion is in the best interests of the Debtors’ estates, their creditors, and other parties in
interest; and this Court having found that the Debtors’ notice of the Motion was appropriate
under the circumstances and no other notice need be provided; and this Court having reviewed
the Motion and having afforded the opportunity for a hearing; and this Court having determined
that the legal and factual bases set forth in the Motion establish just cause for the relief granted
herein; and upon all of the proceedings had before this Court; and after due deliberation and
sufficient cause appearing therefor, it is HEREBY ORDERED THAT:

1, The Motion is GRANTED on a final basis as set forth herein.

2. All relief granted in the Interim Order is hereby granted on a final basis.

3. The Debtors are authorized, but not directed, to: (a) continue operating the Cash
Management System, as described in the Motion; (b) honor their prepetition obligations related
thereto; (c) maintain existing business forms; and (d} continue to perform Intercompany
Transactions consistent with historical practice, subject to the limitations described in the Motion

and this Final Order.
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4. The Debtors are further authorized, in their sole discretion, to: (a) continue to use,
with the same account numbers, the Bank Accounts in existence as of the Petition Date,
including those accounts identified on Exhibit C attached to the Motion; (b) use, in their present
form, all correspondence and business forms (including letterhead, purchase orders, and
invoices), as well as checks and other documents related to the Bank Accounts existing
immediately before the Petition Date and thereafter, without reference to the Debtors’ status as
debtors in possession; (c) treat the Debtors’ existing Bank Accounts for all purposes as accounts
of the Debtors as debtors in possession; (d) deposit funds in and withdraw funds from the Bank
Accounts by all usual means, including checks, wire transfers, and other debits; (e) pay the
prepetition Bank Fees; and (f) pay any ordinary course bank fees incurred in comnection with the
Debtors’ existing Bank “Accounts, and to otherwise perform their obligations under the
documents governing the Debtors’ existing Bank Accounts.

5. Each of the Banks is authorized to debit the Debtors’ accounts in the ordinary
course of business without need for further order of this Court for: (a) all checks, items, and
other payment orders drawn on the Debtors’ accounts which are cashed at such Bank’s counters
or exchanged for cashier’s checks by the payees thereof prior to the Bank’s receipt of notice of
filing of these chapter 11 cases; (b) all checks, automated clearing house entries, and other items
deposited or credited to one of the Debtor’s accounts with such Bank prior to the commencement
of these chapter 11 cases which have been dishonored, reversed, or returned unpaid for any
reason, together with any fees and costs in connection therewith, to the same extent the
individual Debtor was responsible for such items prior to commencement of these chapter 11
cases; and (c) all undisputed prepetition amounts outstanding as of the date hereof, if any, owed

to any Bank as service charges for the maintenance of the Cash Management System.
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6. All banks at which the Debtors’ existing Bank Accounts are maintained are
authorized to continue to maintain, service, and administer the Debtors’ existing Bank Accounts
as accounts of the Debtors as debtors in possession, without interruption and in the ordinary
course, and to receive, process, honor, and pay, to the extent of available funds, any and all
checks, drafis, wires, credit card payments, and ACH transfers issued and drawn on the Debtors’
existing Bank Accounts after the Petition Date by the holders or makers thereof, as the case may
be.

7. All Banks provided with notice of this Final Order maintaining any of the
Debtors’ existing Bank Accounts shall not honor or pay any bank payments drawn on the listed
Bank Accounts or otherwise issued before the Petition Date for which the Debtors specifically
issue stop payment orders in accordance with the documents governing such Bank Accounts.

8. In the course of providing cash management services to the Debtors, each of the
Banks is authorized, without further order of this Court, to deduct the applicable fees from the
appropriate accounts of the Debtors, and further, to charge back to the appropriate accounts of
the Debtors any amounts resulting from returned checks or other returned items, including
returned items that result from ACH transactions, wire transfers, or other electronic transfers of
any kind, regardless of whether such items were deposited or transferred prepetition or
postpetition and regardless of whether the returned items relate to prepetition or postpetition
items or transfers.

9. Subject to the terms set forth herein, any of the Debtors’ Banks may rely on the
representations of the Debtors with respect to whether any check, item, or other payment order

drawn or issued by the Debtors prior to filing of the Petition should be honored pursuant to this

 
 

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or any other order of this Court, and such Bank shall not have any liability to any party for
relying on such representations by the Debtors as provided for herein.

10... Any Banks are further authorized to (a) honor the Debtors’ directions with respect
to the opening and closing of any Bank Account and (b) accept and hold, or invest, the Debtors’
funds in accordance with the Debtors’ mstructions; provided, however, that the Debtors’ banks
shall not have any liability to any party for relying on such representations to the extent such
reliance otherwise complies with applicable law.

11, The Debtors, with the consent of the Steering Group (as defined in the Plan), are
authorized to (a) open any new Bank Accounts or close any existing Bank Accounts, and
(b) enter into any ancillary agreements, related to the foregoing, as they may deem necessary and
appropriate; provided, however, that in the event that the Debtors open or close any Bank
Accounts, such opening or closing shall be timely indicated on the Debtors’ monthly operating
reports and notice of such opening or closing shal! be provided to the Office of the United States
Trustee for the District of Delaware (the “U.S. Trustee’s Office”) within 15 days; provided,
further, that the Debtors shall open such new Bank Account(s) at banks that have executed a
uniform depository agreement with the U.S. Trustee’s Office, or at such banks that are willing to
immediately execute such an agreement; and provided further that any such new Bank
Account(s) opened by the Debtors shall be subject to the terms of this Final Order.

12. For any Bank maintaining any of the Debtors’ existing Bank Accounts that is
party to a Uniform Depository Agreement with the U.S. Trustee’s Office, within 15 days of entry
of this Final Order, the Debtors shall (a) contact such bank, (b) provide the applicable Debtor's
employer identification number, and (c) identify each of its accounts held at such bank as being

held by a debtor in possession in a bankruptcy case.
 

 

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13. If the Debtors hold Bank Accounts at a Bank that is not party to a Uniform
Depository Agreement with the U.S. Trustee’s Office, the Debtors shall use their good-faith
efforts to cause such bank to execute a Uniform Depository Agreement in a form prescribed by
the U.S. Trustee within 60 days of the date of this Final Order. The U.S. Trustee’s rights to seek
further relief from this Court on notice in the event that the aforementioned banks are unwilling
to execute a Uniform Depository Agreement in a form prescribed by the U.S. Trustee are fully
reserved.

14. The Debtors are authorized and empowered on a final basis to continue to the
Investment Practices, consistent with prior practice.

15. The Debtors are authorized on a final basis to continue to invest excess funds
consistent with prior practice in the Overnight Investment Accounts and the investment
guidelines of section 345(a) of the Bankruptcy Code are hereby waived.

16. | The Debtors are authorized to continue Intercompany Transactions arising from
or related to the operation of their business in the ordinary course, including the transfer of funds
to the Non-Debtor Subsidiaries, during these chapter 11 cases, provided that Intercompany
Transactions in which funds are transferred from a Debtor to a Non-Debtor shall only be
permitted with the consent of the Steering Group and the Debtors will provide the U.S. Trustee
no less than three (3) days’ notice of any such transfers. In connection with the Intercompany
Transactions, the Debtors shall continue to maintain accurate and detailed records with respect to
all transfers of cash so that all Intercompany Transactions may be readily ascertained, traced, and
properly recorded on intercompany accounts; provided, that such records shall distinguish
between prepetition and postpetition transactions; and provided further that such records shall be

made available promptly to the advisors to the Steering Group upon request. The Debtors will
 

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account for Intercompany Transactions on a per entity basis in the Monthly Operating Reports
that they file with the Bankruptcy Court.

17. Notwithstanding the relief granted in this Final Order and any actions taken
pursuant to such relief, nothing in this Final Order shall be deemed: (a) an admission as to the
validity of any prepetition claim against a Debtor entity; (b) a waiver of the Debtors’ right to
dispute any prepetition claim on any grounds; (c) a promise or requirement to pay any
prepetition claim; (d) an implication or admission that any particular claim is of a type specified
or defined in this Final Order or the Motion; (e) a request or authorization to assume any
prepetition agreement, contract, or lease pursuant to section 365 of the Bankruptcy Code; or (f} a
waiver of the Debtors’ rights under the Bankruptcy Code or any other applicable law.

18. Notwithstanding the Debtors’ use of a consolidated cash management system, the
Debtors shall calculate quarterly fees under 28 U.S.C. § 1930(a)(6) based on the disbursements
of each Debtor, regardless of which entity pays those disbursements.

19. The contents of the Motion satisfy the requirements of Bankruptcy Rule 6003(b).

20. Notice of the Motion as provided therein shall be deemed good and sufficient
notice of such Motion and the requirements of Bankruptcy Rule 6004(a) and the Local Rules are
satisfied by such notice.

21. Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this Final
Order are immediately effective and enforceable upon its entry.

22, The Debtors shall serve a copy of this Final Order on all of their Banks within
three (3) business days of entry.

23. The Debtors are authorized to take all actions necessary to effectuate the relief

granted in this Final Order in accordance with the Motion.

 
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24. _—‘ This Court retains exclusive jurisdiction with respect to all matters arising from or
related to the implementation, interpretation, and enforcement of this Final Order.
Wiknington,Deiewmg/

Dated: ad . 2015
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